          Case 1:23-cr-00257-TSC Document 27 Filed 08/10/23 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:23-cr-00257-TSC


DONALD J. TRUMP
            (Defendant)




TO:     ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 □       CJA                (3     RETAINED           □      FEDERAL PUBLIC DEFENDER




                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Todd Blanche (NY Bar 4192456)
                                                          (Attorney & Bar ID Number)
                                          Blanche Law
                                                                 (Firm Name)
                                          99 Wall Street, Suite 4460
                                                               (Street Address}
                                          New York, NY 10005
                                           (City)                 {State)          (Zip}
                                          212-716-1250
                                                             (Telephone Number)
